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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

In re:                                 )
                                       )
VERONICA GARCIA,                       ) Case No. 19-13115 EEB
                                       ) Chapter 7
            Debtor.                    )
______________________________________________________________________________

                   NOTICE OF SUBSTITUTION OF COUNSEL
______________________________________________________________________________

        Pursuant to Local Bankruptcy Rule 9010-4, notice is hereby given that Lacey S. Bryan is
withdrawing as counsel for KCP Servicing, LLC (“KCP”), as she is no longer with the law firm
of Wadsworth Garber Warner Conrardy, P.C. Aaron J. Conrardy, attorney at Wadsworth Garber
Warner Conrardy, P.C., will continue to represent KCP. The undersigned requests that the Court
and all other interested parties remove Lacey S. Bryan from all mailing lists and matrices in this
case, and that the Court and all other interested parties instead send copies of all notices,
pleadings, judgments, and orders in this case as follows:

                Wadsworth Garber Warner Conrardy, P.C.
                Attn: Aaron J. Conrardy
                2580 West Main Street, Suite 200
                Littleton, Colorado 80120

         Please update records in this case accordingly.

DATED this 19th day of July, 2019

                                      Respectfully submitted,

                                      WADSWORTH GARBER WARNER CONRARDY, P.C.

                                      /s/ Aaron J. Conrardy
                                      Aaron J. Conrardy, #40030
                                      2580 West Main Street, Suite 200
                                      Littleton, Colorado 80120
                                      303-296-1999 / 303-296-7600 FAX
                                      aconrardy@wgwc-law.com
                                      Attorneys for KCP Servicing, LLC

                                      /s/ Lacey S. Bryan
                                      Lacey S. Bryan, #51908
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                               CERTIFICATE OF MAILING

          The undersigned certifies that on July 19, 2019, I served by prepaid first class mail a
copy of the Notice of Substitution of Counsel on all parties against whom relief is sought and
those otherwise entitled to service pursuant to the Fed. R. Bankr. P. and the L.B.R. at the
following addresses:

Veronica Garcia
1259 Utica St.
Denver, CO 80204

Dustin J. Klein
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U.S. Trustee
USTPRegion19.DV.ECF@usdoj.gov

Benjamin R. Skeen
brskeen@skeen-skeen.com



                                            /s/Angela Garcia
                                            For Wadsworth Garber Warner Conrardy, P.C.
